                Case 1-23-43643-jmm                        Doc 111           Filed 03/15/24              Entered 03/15/24 14:41:09



Information to identify the case:
Debtor
                 Showfields Inc.                                                                 EIN:   82−2983969
                 Name

United States Bankruptcy Court        Eastern District of New York                               Date case filed in chapter:          11      10/6/23
                                                   Date case converted to chapter: 7
Case number:1−23−43643−jmm                                                                                                                    3/15/24

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                              10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                         Showfields Inc.

2. All other names used in the
   last 8 years
3. Address                                    187 Kent Avenue, 1st Field
                                              Brooklyn, NY 11249

4. Debtor's attorney                          Rachel S. Blumenfeld                                                 Contact phone (718) 858−9600
                                              Law Office of Rachel S. Blumenfeld
     Name and address                         26 Court Street                                                      Email: rachel@blumenfeldbankruptcy.com
                                              Suite 2220
                                              Brooklyn, NY 11242

5. Bankruptcy trustee                         Yann Geron                                                           Contact phone 646−560−3224
                                              Geron Legal Advisors
     Name and address                         370 Lexington Avenue, Suite 1101                                     Email: adreher@geronlegaladvisors.com
                                              New York, NY 10017

6. Bankruptcy clerk's office                  271−C Cadman Plaza East, Suite 1595                                  Hours open:
                                              Brooklyn, NY 11201−1800                                              9:00 am − 4:30 pm Monday−Friday
     Documents in this case may be
     filed at this address. You may
     inspect all records filed in this case                                                                        Contact phone (347) 394−1700
     at this office or online at
     https://pacer.uscourts.gov.                                                                                   Date: 3/15/24

7.     Meeting of creditors                       April 16, 2024 at 10:00 AM                                    Location:
       The debtor's representative must
       attend the meeting to be questioned   The meeting may be continued or adjourned to a later               Zoom video meeting. Go to
       under oath. Creditors may attend, but date. If so, the date will be on the court docket.                 Zoom.us/join, Enter Meeting ID
       are not required to do so.                                                                               522 740 9824, and Passcode
                                                                                                                0430326134, OR call 1 (929) 547-6034

                                              For additional meeting information go to https://www.justice.gov/ust/moc

8. Proof of claim                             No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
     Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
     claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
     to do so.

9. Creditors with a foreign                   If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                    extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                              any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                       page 1
